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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 11

FTX TRADING LTD., et al., 1                                    Case No. 22-11068 (JTD)

         Debtors.                                              (Jointly Administered)

                                                               Ref. No. 1416


                             NOTICE OF REVISED PROPOSED ORDER

                PLEASE TAKE NOTICE that on May 3, 2023, FTX Trading Ltd. and its
affiliated debtors and debtors-in-possession (the “Debtors”) filed the Motion of Debtors for Entry
of an Order (I)(A) Establishing Deadlines for Filing Non-Customer and Government Proofs of
Claim and Proofs of Interest and (B) Approving the Form and Manner of Notice Thereof and (II)
Granting Related Relief [D.I. 1416] (the “Motion”) 2 in the United States Bankruptcy Court for the
District of Delaware (the “Court”).

               PLEASE TAKE FURTHER NOTICE that the Debtors have revised the original
proposed form of order (the “Revised Non-Customer Bar Date Order”) attached to the Non-
Customer Bar Date Motion, a copy of which is attached hereto as Exhibit A. A redline of the
Revised Non-Customer Bar Date Order compared against the original proposed form of order is
attached hereto as Exhibit B. The Debtors have also revised the Non-Customer Bar Date Notice
and the Publication Notice, attached as Exhibits 3 and 4, respectively, to the original proposed
form of order, copies of which are attached hereto as Exhibits C and D. Redlines of the revised
Non-Customer Bar Date Notice and Publication Notice compared against the original proposed
Non-Customer Bar Date Notice and Publication Notice are attached hereto as Exhibits E and F.

                PLEASE TAKE FURTHER NOTICE that a copy of the Motion may be
obtained from the Court’s website, https://ecf.deb.uscourts.gov/, for a nominal fee, or obtained
free of charge by accessing the website of the Debtors’ claims and noticing agent at
https://restructuring.ra.kroll.com/FTX/.




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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
    and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
    the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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    Capitalized terms used but otherwise not defined herein shall have the meanings ascribed to them in the Motion.
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